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                         IN THE UNITED STATES DISTRICT COURT                     ·r-1· ~                 -----· -                           ---~
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                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                  l1J r--                           ..                 -       \, ,.



 AIDA ELZA GALLY, et al. ,
                                    Alexandria Division

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                                                                                                              a 2022
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                        Plaintiffs,            )
                                               )
        V.                                     )    Civil Action No. 1: l 9cv0853 (LMB/JFA)
                                               )
 KHALIF A HIFTER,                              )
                                               )
                        Defendant.             )

 MUNA AL-SUYID, et al. ,                       )
                                               )
                        Plaintiffs,            )
                                               )
        V.                                     )    Civil Action No. I :20cv0170 (LMB/JFA)
                                               )
 KHALIF A HIFTER,                              )
                                               )
                        Defendant.             )

 ALI ABDALLA HAMZA, et al.,                    )
                                               )
                        Plaintiffs,            )
                                               )
        V.                                     )    Civil Action No. 1:20cvl 038 (LMB/JFA)
                                               )
 KHALIF A HIFTER,                              )
                                               )
                        Defendant.             )


              PROPOSED FINDINGS OF FACT AND RECOMMENDATIONS

        This matter is before the court on plaintiffs' motions for default judgment against

 defendant K.halifa Hifter ("Hifter" or "defendant") in three consolidated cases. Because

 plaintiffs' motions seek relief that would be dispositive of the claims in their complaints, they are

 being considered in accordance with 28 U.S.C. § 636(b)(l)(B). Pursuant to 28 U.S.C.
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 § 636(b)(l)(C), the undersigned magistrate judge is filing with the court his proposed findings of

 fact and recommendations, a copy of which will be provided to all interested parties.

                                       Factual Background

        Plaintiffs are citizens and/or residents of Libya, and they allege claims against defendant

 pursuant to the Torture Victim Protection Act ("TVPA"). Plaintiffs allege that defendant used

 his leadership role with the Libyan National Army ("LNA") to authorize indiscriminate bombing

 and torture of Libyan civilians, including several of plaintiffs' family members.

                i.     Elzaga/ly Plaintiffs

        On July 9, 2021, plaintiffs Aida Elzagally, Ayah Tunalli, Alaa Tunalli, Abdulhameed

 Tunalli, Abdulrrauf Tunalli, Muhammad Tunalli, Abduladeem Tunalli, Mais Ahmed Mayouf,

 and Abdulhameed Al-Harramah (collectively "Elzagally plaintiffs") filed an amended complaint

 ("Am. Compl.") (Docket no. 69) alleging claims against defendant pursuant to the TVPA. 1 (Am.

 Compl. ,r,r 64-68). The Elzagally plaintiffs allege that defendant-a U.S. Citizen-left his home

 in Virginia in 2015 and moved to Libya to form the LNA. (Am. Compl. ,r,r 1, 17-18, 22-25).

 As "Field Marshall" of the LNA, defendant allegedly authorized the indiscriminate bombing and

 torture of Libyan citizens. (Am. Compl. ,r,r 1-2, 28-32). The Elzagally plaintiffs allege that

 their relative, Msaddek Tunalli, was killed on April 14, 2019 when he was struck by a mortar

 fired while defendant's forces were randomly shelling the area. (Am. Compl. ,r,r 33--44). They

 further allege that defendant and his forces launched missiles into plaintiff Mais Ahmed

 Mayoufs neighborhood on April 16, 2019, killing her mother, Mufida Sasi Abu Gasiah, her

 grandmother, and her aunt, and leaving Mais as the only survivor. (Am. Compl. ,r,r 14, 45-53).



        1
          The Elzagally plaintiffs filed their original complaint on June 26, 2019 alleging several
 additional claims against defendant. (Docket no. 1). The Elzagally plaintiffs' non-TVPA claims
 were dismissed on September 29, 2020. (Docket no. 43).
                                                  2
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 Lastly, the Elzagally plaintiffs allege that plaintiff Abdulhameed Al-Harramah's son, Dr. Ayman

 Al-Harramah, was killed on April 6, 2019 when defendant bombed the hospital in which Dr. Al-

 Harramah was working. (Am. Compl ,r,r 54-59).

                ii.    al-Suyid Plaintiffs

        On February 18, 2020, plaintiffs Muna al-Suyid, Abdalla al-Krshiny, Ahmad al-Krshiny,

 Mahmud al-K.rshiny, and Ibrahim al-Krshiny (collectively "al-Suyid plaintiffs") filed a

 complaint ("Compl.") (Docket no. 1) alleging claims against defendant pursuant to the TVPA. 2

 (Compl. ,r,r 55-71). The al-Suyid plaintiffs allege that their family members were tortured and

 killed in Benghazi by LNA officials acting under defendant's command as part of a military

 program called "Operation Dignity." (Compl. ,r,r 2~6). On October 15, 2014, LNA soldiers

 acting under defendant's command allegedly fired on plaintiff Muna al-Suyid's home and killed

 her brothers, Mustafa al-Suyid and Khalid al-Suyid. (Compl. ,r,r 29-31). The al-Suyid plaintiffs

 also allege that the soldiers kidnapped, tortured, and killed Muna's father, Abdel Salam al-Suyid,

 and brother, Ibrahim al-Suyid. (Compl.   ,r,r 30-33).   On October 17, 2014, LNA soldiers, again

 acting under defendant's command, allegedly fired on the al-Krshiny family home, killing two

 family members and taking plaintiff Ibrahim al-Krshiny and his five surviving brothers as

 prisoners. (Compl. ,r,r 34-36). While held captive, Ibrahim and his brother, Mustafa, were

 allegedly tortured, and Mustafa's body was recovered on November 5, 2014 with bullet wounds

 to his head and chest. (Compl. ,r,r 37-44). LNA soldiers also allegedly opened fire on a truck

 containing LNA prisoners, injuring plaintiffs Abdalla al-Krshiny, Ahmad al-Krshiny, and

 Mahmud al-Krshiny, and killing their brother, Ali. (Compl. ,r 45).



        2
          The al-Suyid plaintiffs' complaint alleged several additional claims against defendant
 and his sons, Khalid Hifter and Saddam Hifter. (Docket no. 1). All claims except for the TVPA
 claims against defendant were dismissed on September 29, 2020. (Docket no. 52).
                                                  3
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                 iii.   Hamza Plaintiffs

         On September 17, 2020, plaintiffs Ali Abdalla Hamza, Nehma Abdalla Al-Mahdi Hamza,

 Abdelhalim Abdalla Mahdi Hamza, and Salimah Abdullah Abraheem Jibreel (collectively

 "Hamza plaintiffs") filed an amended complaint ("Am. Compl.") (Docket no. 8) alleging claims

 against defendant pursuant to the TVPA. 3 (Am. Compl. ,r,r 199-211). Like the al-Suyid

 plaintiffs, the Hamza plaintiffs allege that their family members were tortured and killed by LNA

 soldiers as part of Operation Dignity. (Am. Compl. ,r,r 112-162). On February 26 and 28, 2017,

 LNA soldiers operating under defendant's command allegedly fired tank shells into a home in

 which members of the Hamza family were sheltering, killing plaintiff Ali Abdalla Hamza's

 brother, Ibrahim Abdalla Hamza, and his sister, Fariha Abdalla Hamza. (Am. Compl. ,r,r 10,

 139-40). The Hamza plaintiffs also allege that LNA soldiers fired machine guns and heavy

 artillery into several cars containing civilians attempting to flee the city, killing Ali's mother,

 Aalya Faleh Al-Derbali, his brother, Mahmoud "Naser" Abdalla Hamza, and his sister, Faiza

 Abdalla Hamza. (Am. CompL ,r,r 10, 144). Ali's sister, Abtisam, survived the attack with a

 gunshot wound to her shin, but she was allegedly taken prisoner and tortured by LNA

 interrogators. (Am. Compl. ,r,r 145-46). The Hamza plaintiffs also allege that LNA forces

 bombed plaintiff Salimah Jibreel's house on January 5, 2017, killing three of her children: Aziza,

 Maryam, and Mohammad. (Am. Compl. ,r 159). Salimah, her husband, and one of her children

 escaped with injuries, but her husband was allegedly captured by LNA forces, tortured, and kept

 in detention, where he currently remains. (Am. Compl. ,r,r 159, 161-62).




        3
         The Hamza plaintiffs' amended complaint alleged several additional claims under the
 Alien Tort Statute, all of which were dismissed on March 26, 2021. (Docket no. 33).
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                                      Procedural Background

                 i.     Elzagally Action (1: J9-cv-0853-LMB-JFA)

         The Elzagally plaintiffs filed the original complaint in this action on June 26, 2019.

  (Docket no. 1). On December 4, 2019, the Elzagally plaintiffs filed an affidavit certifying that

  defendant was served with the complaint and summons pursuant to Libyan law on November 25,

  2019. (Docket no. 8). Defendant failed to file a responsive pleading, and the Clerk's Office

  entered a default as to defendant on January 9, 2020. (Docket no. 12). The Elzagally plaintiffs

  filed a motion for default judgment on January 31, 2020 (Docket no. 18), and the court filed a

  Report and Recommendation on April 23, 2020 recommending that the Elzagally plaintiffs'

  motion be denied (Docket no. 25). Counsel entered an appearance on behalf of defendant on

  July 31, 2020 (Docket no. 27), and the Clerk's Entry of Default was set aside on August 6, 2020

  (Docket no. 29). Defendant filed a motion to dismiss (Docket no. 32), which the District Judge

  granted in part on September 29, 2020 (Docket no. 43).

         In early 2021, defendant's counsel requested leave to withdraw, which the District Judge

  granted on January 12, 2021 (Docket no. 48), and the District Judge entered an order requiring

  that defendant file an answer to the complaint by February 5, 2021 (Docket no. 49). On

  February 6, 2021, counsel for defendant entered an appearance and requested an extension of the

  deadline to respond. (Docket no. 50). Defendant's motion was granted, and he filed an answer

  to the complaint on February 19, 2021 (Docket no. 54). The Elzagally plaintiffs filed their

  amended complaint on July 9, 2021 (Docket no. 69), and defendant filed his answer on July 11,

  2021 (Docket no. 71 ). On July 12, 2021, the District Judge entered an amended scheduling order

  reopening discovery in the case. (Docket no. 73).




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        On August 17, 2021, the Elzagally plaintiffs filed a motion to compel alleging that

 defendant's responses to their First Set of Document Requests and First Set of Interrogatories

 were deficient. (Docket no. 76). In his opposition to the motion, defendant argued that the state

 secrets privilege recognized for the U.S. executive branch should also apply to foreign

 governments in TVPA actions and that he should be not be compelled to disclose Libyan

 military secrets. (Docket no. 79). On September 14, 2021, the court granted the Elzagally

 plaintiffs' motion in part, rejected defendant's state secrets argument, and directed defendant to

 provide full and complete responses to the outstanding discovery requests. (Docket no. 84 ).

        On October 2, 2021, the Elzagally plaintiffs served a Notice of Deposition on defendant

 scheduling a videoconference deposition for October 12, 2021. (Docket no. 97-1). On October

 8, 2021, defendant filed a motion for a protective order to prevent his deposition. (Docket no.

 92). The Elzagally plaintiffs filed an emergency motion to compel defendant's deposition on

 October 11, 2021. (Docket no. 95). On October 14, 2021, the court denied defendant's motion

 for a protective order, finding that defendant's arguments regarding state secrets and related

 doctrine were '"similar' if not nearly identical" to those that the court had previously rejected.

 (Docket no. 106). The court further granted the Elzagally plaintiffs' motion to compel and

 ordered defendant to sit for a deposition within fourteen (14) days after entry of the order. 4 Id

        On October 22, 2021, the District Judge ordered that this case be consolidated with the

 al-Suyid and Hamza matters for discovery and pretrial matters. (Docket no. 118). On November

 4, 2021, the District Judge ordered that all three actions be stayed pending the conclusion of

 Libya's apparently upcoming election. (Elzagally, Docket no. 123; al-Suyid, Docket no. 175;

 Hamza, Docket no. 91).


        4
         Defendant objected to the order, and the District Judge overruled his objection on
 October 29, 2021. (Docket no. 121).
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                 ii.    al-Suyid Action (l:20-cv-0170-LMB-JFA)

        The al-Suyid plaintiffs filed their complaint in this action on February 18, 2020. (Docket

 no. 1). On March 20, 2020, the al-Suyid plaintiffs filed an affidavit certifying that defendant was

 served by mail on March 14, 2020. (Docket no. 20). Defendant failed to file a responsive

 pleading, and the Clerk's Office entered a default as to defendant on May 5, 2020. (Docket no.

 25). The al-Suyid plaintiffs filed a motion for default judgment on May 22, 2022 (Docket no.

 27), and the court filed a Report and Recommendation on June 17, 2020 recommending that the

 al-Suyid plaintiffs' motion be granted (Docket no. 31). Counsel entered an appearance on behalf

 of defendant on July 31, 2020 (Docket no. 32), and the Clerk's Entry of Default was set aside on

 August 6, 2020 (Docket no. 35). Defendant filed a motion to dismiss (Docket no. 38), which the

 District Judge granted in part on September 29, 2020 (Docket no. 52).

        In early 2021, defendant's counsel requested leave to withdraw, which the District Judge

 granted on January 12, 2021 (Docket no. 56), and the District Judge entered an order requiring

 that defendant file an answer to the complaint by February 5, 2021 (Docket no. 57). Counsel for

 defendant entered an appearance and requested an extension of the deadline to respond on

 February 8, 2021. (Docket no. 59). Defendant's motion was granted, and he filed an answer to

 the complaint on February 19, 2021 (Docket no. 66). 5 On February 23, 2021, the District Judge

 entered a scheduling order opening discovery in the case. (Docket no. 67).

        On September IO, 2021, the al-Suyid plaintiffs served a Notice of Deposition on

 defendant scheduling a videoconference deposition on September 22, 2021. (Docket no. 113-

 10). On September 17, 2021, the al-Suyid plaintiffs filed a motion to compel discovery from and

 deposition of defendant. (Docket no. 112). In their memorandum in support of their motion, the



        5
            Defendant filed an amended answer on April 1, 2021. (Docket no. 86).
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 al-Suyid plaintiffs indicated that defendant served deficient responses to their First Set of

 Requests for Production, failed to respond entirely to their First Set of Interrogatories by the

 September 3, 2021 deadline, refused to appear for the September 22 deposition, and refused to

 reschedule the deposition. (Docket no. 113). On September 24, 2021, defendant filed a motion

 for a protective order to limit his discovery obligations. (Docket no. 115). In his memoranda in

 support of his motion and in opposition to the al-Suyid plaintiffs' motion, defendant reasserted

 largely the same state secrets argument that he had made in his prior opposition to the Elzagally

 plaintiffs' motion to compel, but he failed to notify the court of the earlier adverse decision in the

 Elzagally matter. (Docket nos 116, 119). On October 1, 2021, the court granted the al-Suyid

 plaintiffs' motion to compel in part and ordered defendant to respond to the discovery requests

 within fourteen (14) days after entry of the order. (Docket no. 127). The court further denied

 defendant's motion for a protective order. 6 (Docket no. 128).

        On October 4, 2021, the al-Suyid plaintiffs again served a Notice of Deposition on

 defendant scheduling a videoconference deposition on October 13, 2021. (Docket no. 145-6).

 On October 8, 2021, defendant served his objection to the Notice of Deposition asserting the

 same arguments that had already been rejected in both the instant case and in the Elzagally

 matter. (Docket no. 145-7). Defendant did not appear for his deposition, and the al-Suyid

 plaintiffs filed another motion to compel defendant's deposition on October 15, 2021 (Docket

 no. 144). On October 22, 2021, the court granted the al-Suyid plaintiffs' motion to compel and

 ordered defendant to sit for a deposition within fourteen (14) days after entry of the order. 7

 (Docket no. 164). In an affidavit filed with the instant motion, counsel for the al-Suyid plaintiffs


        6
          Defendant objected to these orders, and the District Judge overruled his objections on
 October 29, 2021. (Docket no. 173).
        7
          Defendant objected to this order, and the District Judge overruled his objection as to the
 order compelling his deposition. (Docket no. 173).
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 represents that defendant was noticed for a deposition on November 1, 2021, which was

 rescheduled to November 9, 2021. (Docket no. 200-1     ,r 4).   The November 9, 2021 deposition

 did not occur in light of the District Judge's November 4, 2021 order staying the three cases

 (Docket no. 175).

                iii.    Hamza Action (J:20-cv-1038-LMB-JFA)

        The Hamza plaintiffs filed the original complaint in this action on September 3, 2020

 (Docket no. 1) and filed an amended complaint on September 17, 2020 (Docket no. 8). On

 December 2, 2020, the Hamza plaintiffs filed affidavits certifying that defendant was served by

 posting and certified mail on December 1 and 2, 2020. (Docket nos. 9, 10). Defendant failed to

 file a responsive pleading, and the Clerk's Office entered a default as to defendant on January 4,

 2021. (Docket no. 12). Counsel entered an appearance on behalf of defendant on February 8,

 2021 (Docket no. 13), and the Clerk's Entry of Default was set aside on February 23, 2021

 (Docket no. 22). Defendant filed a motion to dismiss (Docket no. 24), which the District Judge

 granted in part on March 26, 2021 (Docket no. 33). Defendant filed an answer on July 20, 2021

 (Docket no. 40), and the District Judge entered a scheduling order opening discovery in the case

 on July 21, 2021 (Docket no. 41).

        On August 20, 2021, the Hamza plaintiffs served a Notice of Deposition on defendant

 scheduling a deposition on September 20, 2021. (Docket no. 64-1 at 7). Defendant did not serve

 any objections to the notice pursuant to Local Civil Rule 26(C), but defense counsel notified

 counsel for the Hamza plaintiffs less than two days before the scheduled deposition that

 defendant would not be appearing because "[a]nswering questions by deposition would place

 him in criminal jeopardy in Libya" (Id. at 20).




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          On September 24, 2021, defendant filed a motion for a protective order to limit his

  discovery obligations. (Docket no. 44). In his memorandum in support of his motion, defendant

  again reasserted largely the same argument as he had made in his prior opposition to the

  Elzagally plaintiffs' motion to compel (and in his companion motion in the al-Suyid case, filed

  the same day), and he again failed to notify the court of the earlier adverse decision in the

  Elzagally matter. (Docket no. 45). On October 1, 2021, the court denied defendant's motion for

  a protective order. 8 (Docket no. 55).

         On October 1, 2021, the Hamza plaintiffs again served a Notice of Deposition on

  defendant scheduling a deposition on October 14, 2021. (Docket no. 64-1 at 27). On October 8,

  2021, defendant served his objection to the Notice of Deposition asserting the same arguments

  that had already been rejected in all three cases. (Id. at 31-32). Defendant did not appear for his

  deposition, and the Hamza plaintiffs filed a motion to compel defendant's deposition and for

  sanctions on October 14, 2021 (Docket no. 64). On October 22, 2021, the court granted the

  Hamza plaintiffs' motion to compel and ordered defendant to sit for a deposition within fourteen

  (14) days after entry of the order. (Docket no. 80). The court denied the Hamza plaintiffs'

  motion for sanctions without prejudice to their ability to seek sanctions at a later date. 9 (Id).

                 iv.     Defendant's May 9, 2022 Deposition and the Instant Motions

         On March 11, 2022, the District Judge lifted the stay in the Hamza matter and ordered

  defendant to pay the Hamza plaintiffs' costs incurred due to his failure to attend the September

  20 and October 14, 2021 depositions. (Hamza, Docket no. 106). On April 22, 2022, the District

  Judge lifted the stay in the Elzagally and al-Suyid matters. (Elzagally, Docket no. 130; al-Suyid,


         8
          Defendant objected to this order, and the District Judge overruled his objections on
  October 29, 2021. (Docket no. 88).
        9
          Defendant objected to these orders, and the District Judge overruled his objections on
  October 29, 2021. (Docket no. 88).
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  Docket no. 187). The parties in the three cases collectively agreed to conduct a joint deposition

  of defendant, and it was scheduled for May 9, 2022. (Hamza, Docket no. 111 ). Counsel for

  defendant appeared before the court on Friday, May 6, 2022 to address some outstanding issues

  relating to defendant's pending deposition but gave no indication that defendant was unable or

  unwilling to attend the deposition scheduled for the following Monday.

         On May 20, 2022, the al-Suyid and Hamza plaintiffs filed motions for default judgment

  alleging that defendant failed to attend the May 9, 2022 deposition. 10 (al-Suyid, Docket no. 199;

  Hamza, Docket no. 129). Plaintiffs indicated that they received an email from defense counsel

  on May 7, 2022, one day after counsel's appearance in court, indicating that defendant would be

  unable to attend the May 9 deposition due to his "official duties and obligations." (Hamza,

  Docket no. 130-1 at 10). Defense counsel did not elaborate further but requested plaintiffs'

  consent to continue the deposition to mid-June. (Id.). Plaintiffs' counsel declined defendant's

  proposed alternative dates, and defendant failed to appear for the May 9, 2022 deposition.

  (Hamza, Docket no. 130-1 at 9; al-Suyid, Docket no. 200-1    ,r,r 3-5).   On June 10, 2022, this case

  was called in open court, and the parties appeared before the undersigned and presented their

  arguments on the motions for default judgment. 11

                             Proposed Findings and Recommendations

         Plaintiffs allege that defendant has unreasonably and consistently failed to comply with

  his discovery obligations in each of the three cases. For this reason, plaintiffs seek an order




         10
             The Elzagally plaintiffs filed their motion for default judgment on May 27, 2022
  alleging similar claims. (Elzagally, Docket no. 145).
          11
             The undersigned also heard argument on motions to withdraw filed by defendant's
  counsel in each case.
                                                   11
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  granting default judgment as a sanction in each case pursuant to Fed. R. Civ. P. 37. 12 (Elzagally,

  Docket no. 145; al-Suyid, Docket no. 199; Hamza, Docket no. 129). As explained in more detail

  below, the undersigned recommends a finding that: (1) defendant has acted in bad faith by

  refusing to comply with his litigation obligations, (2) that plaintiffs have been materially

  prejudiced by defendant's misconduct, (3) that Rule 37 sanctions are warranted here to deter

  discovery non-compliance, and (4) that no sanction less drastic than entry of default as to

  defendant's liabilty would likely be effective. For these reasons, the undersigned recommends

  that the court grant plaintiffs' motions in part and that default be entered in each case as to

  defendant's liability for plaintiffs' TVPA claims.

                   i.      Legal Standard

         Fed. R. Civ. P. 37 gives the court broad discretion to order sanctions for a party's failure

  to cooperate in discovery. See Fed. R. Civ. P. 37(b)(2)(A). The court's discretion is somewhat

  narrower when considering whether to order a default judgment, which the Fourth Circuit has

  held should be limited to "that rare case where the conduct represents such 'flagrant bad faith'

  and 'callous disregard' of the party's obligation under the Rules as to warrant the sanction not

  simply for the purpose of preventing prejudice to the discovering party but as a necessary

  deterrent to others." See Wilson v. Volkswagen ofAm., Inc., 561 F.2d 494,504 (4th Cir. 1977).

  Before ordering a default judgment as a discovery sanction, the court must consider: "( 1)

  whether the noncomplying party acted in bad faith; (2) the amount of prejudice his

  noncompliance caused his adversary ... ; (3) the need for deterrence of the particular sort of

  noncompliance; and (4) the effectiveness of less drastic sanctions." Mut. Fed Sav. & Loan




          12
               The Hamza plaintiffs also seek an award of attorneys' fees and costs. (Hamza, Docket
  no. 129).
                                                    12
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  Ass'n v. Richards & Assoc., Inc., 872 F.2d 88, 92 (4th Cir. 1989) (citing Wilson, 561 F.2d at

  503-06).

                 ii.     Defendant's Bad Faith Conduct

         Defendant's consistent disregard of deadlines and court orders over several years of

  litigation provides sufficient evidence of bad faith. Defendant's inability or unwillingness to

  comply with his obligations began even before the start of discovery. In each case, defendant

  failed to file responsive pleadings in a timely manner, resulting in a Clerk's entry of default that

  was later set aside. (Elzaga/ly, Docket no. 12; al-Suyid, Docket no. 25; Hamza, Docket no. 12).

  In addition, defendant failed to respond timely to the Elzagally and al-Suyid plaintiffs'

  complaints following withdrawal of his original counsel. (Elzaga/ly, Docket no. 49; al-Suyid,

  Docket no. 57). Instead, defendant's counsel entered an appearance and requested an extension

  of time to respond after the court-ordered deadline had already passed. (Elzagally, Docket no.

  50; al-Suyid, Docket no. 59).

         Defendant consistently failed to adhere to his discovery obligations as well. Defendant

  provided deficient responses to the Elzagally plaintiffs' First Set of Document Requests and First

  Set of Interrogatories, which necessitated a motion to compel and a court order requiring that

  defendant provide full and complete responses. (Elzaga/ly, Docket nos. 76, 84). Defendant

  failed to respond entirely to the al-Suyid plaintiffs' First Set oflnterrogatories by the deadline

  and provided deficient responses to their First Set of Requests for Production, again necessitating

  a motion to compel and a court order. (al-Suyid, Docket no. 112, 127).

         Between the three cases, defendant has failed to attend at least six separate depositions,

  properly noticed for October 12, October 13, October 14, September 20, and September 22,

  2021, and, most recently, May 9, 2022. (Elzaga/ly, Docket no. 97-1; al-Suyid, Docket nos. 113-



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  10, 145-6; Hamza, Docket nos. 64-1 at 7, 64-1 at 27, 111). Defendant's refusal to sit for a

  deposition has been without adequate justification and in violation of at least one court order.

  (Elzagally, Docket no. 106). Defendant has instead engaged in extensive and unnecessary

  motions practice and has repeatedly filed duplicative motions for protective orders relying on

  state secrets and similar arguments that the court has previously rejected. (Elzagally, Docket no.

  92; al-Suyid, Docket no. 115; Hamza, Docket no. 44).

         Defendant's failure to attend his May 9, 2022 deposition is particularly troubling. Two

  days before his deposition, and only one day after appearing before this court and discussing

  matters related to that deposition, counsel for defendant indicated that defendant was unable to

  attend the deposition due to his "official duties and obligations." (Hamza, Docket no. 130-1 at

  10). Defendant's oppositions to the instant motions provide no further elaboration, stating only

  that "[h]is duties in Libya caused an unexpected and unavoidable conflict with his date."

  (Hamza, Docket no. 13 7 at 2). Defendant's oppositions lack evidence any affidavit from

  defendant himself certifying under oath a reason for missing the latest deposition or indicating

  defendant's genuine intent to sit for a deposition. Based on defendant's history of discovery

  misconduct including failing to appear at other properly noticed depositions, counsel's statement

  in the pleadings alone that defendant eventually intends to sit for a deposition is wholly

  inadequate (Hamza, Docket no. 137 at 1). Moreover, it is not clear how counsel can represent

  that defendant intends to sit for a deposition while simultaneously indicating in motions to

  withdraw that defendant has "ceased meaningful communication and cooperation" with counsel.

  (Docket no. 203 at 3) (noting that "[a]ttempts to discuss the Defendant's obligations in this case

  and the others pending against the Defendant in this Court are now being ign?red"). Defendant's




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  blatant and consistent refusal to comply with his discovery obligations fully support a finding of

  bad faith.

                 iii.    The Prejudicial Effect on Plaintiffs

          As the direct result of defendant's bad faith conduct, plaintiffs have been unable to secure

  evidence reasonably necessary for substantive proceedings in their cases. As the Elzagally

  plaintiffs highlight in their memorandum in support of their motion for default judgment,

  defendant's responses to their interrogatories and requests for document production have been

  largely deficient. (Elzagally, Docket no. 145-1 at 3--4). The Elzagally plaintiffs note that the

  limited documents produced by defendant consisted entirely of "publicly available LNA public

  relations statements or copies of the Libyan penal code." (Elzagally, Docket no. 145-1 at 3).

  The Elzagally plaintiffs reasonably argue that it is "difficult to believe that [defendant] does not

  have access to any responsive documents other than public relations statements, such as plans,

  budgets, reports, maps, organizational charts, or any other type of non-public document relevant

  to the events in question." (Elzagally, Docket no. 145-1 at 4). The al-Suyid plaintiffs similarly

  note that nearly all of the few documents that defendant produced in discovery are publicly

  available and that defendant has consistently refused to produce responsive, non-public

  documents, even after entry of a protective order (al-Suyid, Docket no. 200 at 7-9). As noted

  above, defendant's prior arguments that he should not be required to produce such documents

  due to state secrets and related doctrine have been consistently rejected by the court.

  Nevertheless, it appears that defendant's stalling tactics were successful, as he now maintains

  that he no longer possesses the requested documents because he is no longer head of the LNA.

  (Elzagally, Docket no. 146 at 1; al-Suyid, Docket no. 205 at 1). Assuming this is true,

  defendant's argument bolsters plaintiffs' claims of prejudice, as plaintiffs no longer have the



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   same ability to secure documents that they should have been provided in response to discovery

  requests served in mid-2021.

          Defendant devotes substantial portions of his oppositions to the argument that plaintiffs

  have not provided sufficient direct evidence to support their TVP A claims. (Elzagally; Docket

  no. 146; al-Suyid, Docket no. 205; Hamza, Docket no. 137). As the al-Suyid plaintiffs note, the

  standard for Rule 3 7 sanctions does not require that a movant offer direct evidence in support of

  its substantive claims. 13 (al-Suyid, Docket no. 206 at 2). Even considering plaintiffs' burden of

  production, this is hardly a case in which plaintiffs have offered no admissible evidence such that

  an order of default judgment would require "too many logical leaps." (Hamza, Docket no. 137 at

  6); see also Han Kim v. Democratic People's Republic of Korea, 774 F.3d 1044, 1051 (D.C. Cir.

  2014). As reflected in the exhibits to defendant's oppositions, plaintiffs have compiled extensive

  fact and expert witness deposition testimony in support of their claims. (Elzagally, Dockets nos.

  146-3, 146-4, 146-5, 146-6; Hamza, Docket nos. 137-1, 137-2, 137-3, 137-4). The al-Suyid

  plaintiffs note that they have produced two hundred and twenty-five (225) pages of documents

  during discovery, including "autopsy photographs, physician's letters, photographs of Defendant

  with commanders in the Libyan National Army (LNA), who self-admittedly led the attacks on

  Plaintiffs, and videos of the LNA burning civilian houses." (Docket no. 206 at 2 n.2). That

  plaintiffs have not offered more evidence can be attributed to defendant's failure to adhere to his

  discovery responsibilities.

          Contrary to defendant's suggestion otherwise, his affidavit denying all knowledge of the

  relevant events can hardly be considered an adequate substitute for thorough and complete

  discovery responses and deposition testimony taken under oath and subject to cross-examination.


          13
           The undersigned further notes that plaintiffs' TVPA claims have each survived prior
  motions to dismiss. (Elzagally, Docket no. 43; al-Suyid, Docket no. 52; Hamza, Docket no. 33).
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   Defendant's refusal to comply with this court's discovery rules and orders has materially

  prejudiced plaintiffs by preventing them from determining the extent of defendant's knowledge

  of and responsibility for the events at issue, a key element of their TVP A claims.

                  iv.    Need for Deterrence

          The extent and duration of defendant's noncompliance supports a finding that Rule 37

  sanctions are necessary as a deterrent to similar discovery misconduct. The cases at issue

  involve serious claims alleging hundreds of millions of dollars of damages against defendant, a

  high-profile Libyan official subject to extensive media scrutiny. Despite the gravity of the

  claims at issue, defendant has steadfastly refused to sit for a properly noticed and scheduled

  deposition after several years of litigation. Notably, defendant fails to address the deterrence

  factor entirely in any of his oppositions. For these reasons, sanctions are warranted to discourage

  similarly situated parties from engaging in the same kinds of discovery misconduct.

                 v.      Effectiveness of Less Drastic Sanctions

          It is apparent that sanctions other than entry of default as to liability would be ineffective

  at remedying defendant's discovery misconduct. As an initial matter, defendant was previously

  ordered to pay expenses for missed depositions (Hamza, Docket no. 106), but this did not appear

  to deter him from missing his most recent deposition. Defendant has also been warned multiple

  times that his failure to comply with his discovery obligations could result in a default (Hamza,

  Docket nos. 100 at 4, 106). See Anderson v. Found for Advancement, Educ. & Employment of

  Am. Indians, 155 F.3d 500, 504 (4th Cir. 1998). Defendant suggests that prohibiting him from

  testifying or introducing evidence would be a more appropriate sanction (Hamza, Docket no. 137

  at 5), but this would not address the prejudice to plaintiffs from defendant's failure to cooperate

  with discovery. As noted above, the likelihood that defendant will ever sit for a deposition is



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  almost nonexistent. Adopting defendant's proposed sanction would effectively reward defendant

  by forcing plaintiffs to meet their burden of proof without the benefit of thorough and complete

  discovery. For these reasons, entry of default as to liabity is the least drastic sanction that would

  remedy defendant's failure to comply with his discovery obligations.

          Based on the above findings, the undersigned recommends that the court grant plaintiffs'

  motions in part and enter a default as to defendant's TVPA liability in each of the underlying

  cases. (Elzagally, Docket no. 145; al-Suyid, Docket no. 199; Hamza, Docket no. 129). This is

  one of the rare circumstances in which a party shows such "callous disregard" of its own

  discovery obligations that default judgment is warranted. See Wilson, 561 F.2d at 504. When

  granting default as a discovery sanction pursuant to Fed. R. Civ. P. 37, the court may, in certain

  circumstances, also award damages based on the pleadings. Anderson, 155 F.3d at 507. Despite

  the egregiousness of his conduct, defendant should be given an opportunity to contest the amount

  of damages alleged in each of these cases to ensure that the sanctions are no more severe than

  reasonably necessary. For this reason, the undersigned recommends that the court grant

  plaintiffs' motions in part and enter a default as to liability but require plaintiffs to establish their

  claims for damages.

          In their motion for default judgment, the Hamza plaintiffs also seek an award of $2,249

  in cancellation fees resulting from defendant's missed May 9, 2022 deposition, and attorneys'

  fees for "deposition preparation, the filing of the instant motion and/or the litigation in its

  entirety." (Docket no. 130 at 8 n.3). The Hamza plaintiffs do not cite to any authority in support

  of their request for attorneys' fees, so the undersigned recommends that it be denied. The Hamza

  plaintiffs' request for costs associated with the May 9, 2022 deposition is reasonable and

  consistent with the court's prior order awarding costs incurred for defendant's other missed



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  depositions. (Hamza, Docket no. 106). For these reasons, the undersigned recommends that the

  Hamza plaintiffs be awarded $2,249 in costs for defendant' s most recent deposition.

                                              Conclusion

         For the reasons stated above, the undersigned magistrate judge recommends that

  plaintiffs' motions for defaultjudgment (Elzagally, Docket no. 145; al-Suyid, Docket no. 199;

  Hamza, Docket no. 129) be granted in part as to defendant's liability for their TVPA claims. The

  undersigned recommends that the motions be denied to the extent that they seek an award of

  damages. The undersigned further recommends that the Hamza plaintiffs' request for attorney's

  fees be denied and that their request for $2,249 in costs be granted.

                                                 Notice

         By means of the court's electronic :filing system, the parties are notified that objections to

  this proposed findings of fact and recommendations must be filed within fomteen (14) days of

  service of this proposed findings of fact and recommendations and a failure to fi le timely

  objections waives appellate review of the substance of the proposed findings of fact and

  recommendations and waives appellate review of any judgment or decision based on this

  proposed findings of fact and recommendations.

         Entered this I 0th day of June, 2022.


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                                                          John F. Anderson
                                                          United States Magistrate .tudge
                                                          John F. Anderson
  Alexandria, Virginia                                    United States Magistrate Judge




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